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in compliance with all applicable laws, rules, regulations and ordinances prior to the Closing,
and Sellers' Shareholder has not violated, and has not infringed upon, any rights of third parties
(including, without limitation, rights relating to intellectual property, privacy, publicity, contract,
or otherwise) with respect to the ownership and/or operation ofthe Sellers prior to the Closing.

                 f.      Title and Condition ofAssets. Sellers have good and marketable title, with
no known infringement or violation of the rights of others, to each of the Sale Assets free and
clear of all liens, claims and encumbrances, and have the right to assign or convey all Sale Assets
to Buyer pursuant to this Agreement. Except for normal breakdowns and servicing requirements,
all equipment is in satisfactory operating condition, ordinary wear and tear excepted. All
furniture, fixtures, equipment, inventory and other tangible assets that constitute part of the Sale
Assets (i) was or shall be acquired and maintained in accordance with the regular business
practices of the Sellers, (ii) consists or shall consist of new and unused items of a quality and
quantity useable, saleable and merchantable in the ordinary course of business, (iii) are current
and not discontinued or obsolete, and (iv) shall be transferred to the Buyer at the Closing free
and clear of all liens, claims, interests and encumbrances of any and all nature. Sellers represent
and warrant that the supplies, inventory and other disposable assets constituting part of the Sale
Assets ("Inventory and Supplies") shall be sufficient to fully meet the business and operational
needs of the Buyer and the dental practices of Dental Wizard, P.C. located at 100 E. Allegheny
Avenue, Philadelphia, PA 19134 and 2338 N. Front Street, Philadelphia, PA 19133 for a period
of at least 30 days following the Closing, and if such do not, then the Sellers shall refund to
Buyer the portion of the Purchase Price equal to the amount of Inventory and Supplies which the
Buyer and Dental Wizard, P.C. purchased to meet the shortfall in such business and operational
needs during such 30-day period.

                g.      Judgments, Decrees and Orders in Restraint of Business. Neither the
Sellers nor any of the assets owned or used by Sellers are a party to or subject to any order
entered in any proceeding brought by a governmental body or, by any other person enjoining or
restricting the Sellers in respect of(a) any business practice,(b) the acquisition of any property
or(c)the conduct of business in any area. The Sellers are not subject to any order entered in any
proceeding brought by a governmental body or by any other person that relates to the Sale Assets
or to the business of or any ofthe assets owned or used by the Sellers.

               h.      No Material Adverse Change. In the past 24 months, there has not been
any material adverse change in the operations, properties, assets, financial condition or business
prospects of Sellers or any event, condition or contingency that is reasonably likely to result in
such a material adverse change, in either case, which has specific application to Sellers or the
Sellers' Business.


               i.     Certain Payments. Neither the Sellers nor Sellers' Shareholder has,
directly or indirectly made any unlawful contribution, gift, bribe, rebate, payoff, influence
payment, kickback or other payment to any person, private or public, regardless ofform whether
in money, property or services (i) to obtain favorable treatment in securing business,(ii) to pay
for business secured, (iii) to obtain special concessions or for special concessions already
obtained for or in respect of Sellers, or (iv) which constitute prohibited remuneration or
compensation under applicable laws, rules and regulations. Sellers and Sellers' Shareholder have
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complied in all respects with all applicable federal, state, and local laws, rules, regulations, and
restrictions in the conduct of the dentistry services, including without limitation, the federal anti-
kickback statute, the federal false claims act, the Stark self-referral statute, or the false claims act
of any state.

              j.       Taxes. For all fiscal periods in respect of which a governmental body may
assess any tax. Sellers have filed all tax returns, reports, and estimates fpr all years and periods
(and portions thereof) for which any such returns, reports and estimates were due and all such
retums, reports and estimates were true, correct and complete in all material respects and were
prepared in the manner required by applicable law, including, without limitation, the tax retums
of Sellers which constitute part of the Financial Documents. All taxes required to be paid on or
prior to the Closing Date by Sellers, including taxes withheld by Sellers, have been paid or
accrued. Sellers are not a party to any action or proceeding by any governmental body for
assessment or collection of taxes, nor has any claim for assessment or collection of taxes been
asserted or threatened against Sellers. Sellers have not been audited by any governmental body
having taxing authority.

                k.     Disclosure; Conduct OfBusiness.

                     1)    No representation or warranty of Sellers and Sellers' Shareholder
contained in this Agreement or statement in the Schedules or Exhibits hereto (i) which is
qualified by materiality contains any untrue statement and (ii) which is not qualified by
materiality contains any materially untrue statement. No representation or warranty of Sellers or
Sellers' Shareholder contained in this Agreement or statement in the Schedules or Exhibits
hereto omits to state a material fact necessary in order to make the statements herein or therein,
in light ofthe circumstances under which they were made, not misleading.

                      2)     No notice given by Sellers or Sellers' Shareholder pursuant to this
Agreement will contain any untme statement of a fact or will omit to state a fact necessary in
order to make the statements therein, in light of the circumstances under which they were made,
not materially misleading.

                       3)      There is no fact known to Sellers or Sellers' Shareholder which has
specific application to Sellers and which adversely affects the Sellers' Business or any of the
Sale Assets which has not been set forth in this Agreement or the Schedules hereto.

                       4)      Sellers and Sellers' Shareholder have no knowledge of any
intention by any patient/client to:(i) discontinue its relationship with Sellers' Business prior to or
after the Closing; (ii) not to become a patient/customer of Buyer after the Closing; or (iii)
decrease its level of business with Buyer after the Closing from the historic level of business
conducted with Sellers prior to the Closing.

              1.     Environmental Matters. There are no violations or alleged violations under
environmental laws applicable to Sellers or to the ownership or operation of the Sale Assets or
the operation of the Sellers' Business. Sellers have maintained the Sale Assets and conducted
Sellers' Business in compliance with the terms and conditions of all consents, licenses, permits.
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approvals, and certificates issued to the Sellers by any governmental body and required under
any environmental law. Sellers have not generated, manufactured, refined, transported, bandied,
disposed, produced, used or processed any hazardous materials except in full compliance with all
applicable laws.

               m.      No Undisclosed Liabilities. Sellers have no liabilities or obligations of any
nature (absolute, accrued, contingent or otherwise) that were not fully and expressly paid or
provided for by the Sellers prior to the Closing.

       5.      POST CLOSING COVENANTS AND AGREEMENTS


                a.    Sellers' Post-Closing Services. Subsequent to the consummation of the
sale, as set forth herein. Sellers and Sellers' Shareholder shall make themselves available to
Buyer, for a period of 90 days following the Closing, for the limited purpose of providing
support services relating to the Sale Assets without any additional compensation or consideration
payable by the Buyer. Sellers covenant, acknowledge and agree that that the supplies, inventory
and other disposable assets constituting part of the Sale Assets ("Inventory and Supplies") shall
be sufficient to fully meet the business and operational needs of the Buyer and the dental
practices of Dental Wizard, P.C. located at 100 E. Allegheny Avenue, Philadelphia, PA 19134
and 2338 N. Front Street, Philadelphia, PA 19133 for a period of at least 30 days following the
Closing, and if such do not, then the Sellers shall refund to Buyer the portion of the Purchase
Price equal to the amoimt of Inventory and Supplies which the Buyer and Dental Wizard, P.C.
purchased to meet the shortfall in such business and operational needs during such 30-day
period.

               b.      Transfer of Sale Assets. Following the Closing, Sellers and Sellers'
Shareholder agree fully to cooperate with Buyer in connection with any and all necessary or
appropriate actions, including, without limitation, the preparation, execution, and delivery of any
and all documents required by the Buyer to transition ownership ofthe Sale Assets to the Buyer.

       6.      INDEMNIFICATION.


                 a.     Subject to the other provisions of this Section 6, Sellers and Sellers'
Shareholder shall jointly and severally indemnify, defend and hold Buyer and its shareholders,
directors, officers, employees, contractors, insurers, agents, attorneys, representatives, and
affiliates (collectively, "Buyer Parties") harmless against and in respect of any and all losses,
costs, expenses, claims, damages, obligations and liabilities, including interest, penalties and
reasonable attorneys' fees and disbursements (collectively, "Damages"), which Buyer Parties
may suffer, incur or become subject to, arising out of or relating to:

                       1)     any inaccuracy in or any breach of a representation or warranty by
Sellers and Sellers' Shareholder contained in this Agreement; and

                    2)     any breach or nonfulfillment of any material covenant, agreement,
undertaking or obligation by any of Sellers and Sellers' Shareholder contained in this
Agreement; and
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                      3)     any and all liabilities of Sellers, Sellers' Shareholder, and/or Buyer
Parties to any governmental agency, insurer or other payer for overpayments of amounts for
services rendered or goods provided by Sellers or the Sellers' Business prior to the Closing; and

                       4)      any and all acts, omissions, circumstances, conditions or state of
affairs existing or occurring prior to the Closing, including, without limitation, any liability for
dentistry services or duties of the Sellers, Sellers' Shareholder, and/or their staff, employees,
agents or personnel prior to the Closing, including, without limitation, for any and all Excluded
Liabilities; and

                      5)     any and all acts, omissions, circumstances, conditions or state of
affairs created in whole or in part by the Sellers, Sellers' Shareholder and/or their staff,
employees, agents or personnel.

               b.      The duties, obligations and covenants set forth in this Section 6 shall
survive the Closing indefinitely.

       7.       MISCELLANEOUS.


               a.       Notices. All notices, consents and other communications under this
Agreement shall be in writing and shall be deemed to have been duly given when (a) delivered
by hand,(b) sent by email (with receipt confirmed), provided that a copy is mailed by registered
mail, retum receipt requested, or (c) when received by the addressee, if sent by Express Mail,
Federal Express or other express delivery service (receipt requested), or courier in each case to
the appropriate addresses set forth below (or to such other addresses as a party may designate as
to itself by notice to the other parties):

               Sellers and Sellers Shareholder:             do Yefim Aranbayev

                                                              /-g-Jt tfoOui(        )to
                                                            Phone: *7/ X-            7CdS"S
                                                            Email:


                        With Copy to:                       Leonard Zoftis, Esquire
                                                            Velter, Yurovsky & Zoftis, LLC
                                                             1111 Street Road, Suite 305
                                                            Southampton,PA 18966
                                                            Phone:(215)969-3004
                                                            Email: lzoftis@vyzlaw.com


               Buyer:                                       Dental Wizard Holding, Inc.
                                                            70 Bellwood Drive
                                                            Feasterville-Trevose, PA 19053
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                                                              Attn: Co-Presidents
                                                              Phone:
                                                              Email:


                       With Copy to:                         Vlad Tinovsky, Esquire
                                                             Tinovsky Law Firm
                                                             5 Neshaminy Interplex, Suite 205
                                                              Trevose, PA 19053
                                                             Phone:(215)568-6862
                                                             Email: vtinovsky@tinovsky.com


                b.      Governing Law; Jurisdiction; Service ofProcess. This Agreement and its
interpretation shall be governed by the laws of the Commonwealth of Pennsylvania. Any action
or proceeding seeking to enforce any provision of, or based on any right arising out of, this
Agreement may be brought against any of the parties only in the federal or state courts of
competentjurisdiction in Bucks County, Pennsylvania, and each of the parties hereby consents to
the jurisdiction of such courts (and of the appropriate appellate courts) in any such action or
proceeding and waives any objection to venue laid therein.

              c.       Further Assurances. The parties hereto agree (i) to furnish upon request
to each other such further information, (ii) to execute and deliver to each other such other
documents, and (iii) to do such other acts and things, all as the other party hereto may at any time
reasonably request for the purpose of carrying out the intent of this Agreement and the
documents referred to herein. Sellers will use their best efforts to obtain any consents required to
transfer and assign to Buyer all contracts, authorizations and other rights of any nature
whatsoever relating to or constituting part of the Sale Assets, it being understood that neither
Sellers nor Buyer shall be obligated to make any third party payments in order to obtain
consents.


                d.       Waiver. The rights and remedies of the parties to this Agreement are
cumulative and not alternative. Neither the failure nor any delay on the part of any party in
exercising any right, power or privilege under this Agreement or the documents referred to
herein shall operate as a waiver thereof, nor shall any single or partial exercise of any such right,
power or privilege preclude any other or further exercise thereof or the exercise of any other
right, power or privilege. To the maximum extent permitted by applicable law,(i) no claim or
right arising out of this Agreement or the documents referred to herein can be discharged by one
party hereto, in whole or in part, by a waiver or renunciation of the claim or right unless in
writing signed by the other party hereto; (ii) no waiver which may be given by a party hereto
shall be applicable except in the specific instance for which it is given; and (iii) no notice to or
demand on one party hereto shall be deemed to be a waiver of any obligation of such party or of
the right of the party giving such notice or demand to take further action without notice or
demand as provided in this Agreement or the documents referred to herein.

             e.    Entire Agreement; Modification This Agreement supersedes all prior
agreements among the parties with respect to its subject matter and is intended (with the


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documents referred to herein) as a complete and exclusive statement of the terms of the
agreement among the parties with respect thereto. This Agreement may not be changed or
terminated except by a written agreement executed by all ofthe signatories hereto.

                f.      Assignments; Successors. This Agreement may not be assigned by either
party without the prior consent of the other party, except that Buyer can assign this agreement or
any rights hereunder to any of its affiliates. This Agreement shall apply to and be binding in all
respects upon, and shall inure to the benefit of, the successors and permitted assigns of the
parties hereto. Nothing expressed or referred to in this Agreement is intended or shall be
construed to give any person other than the parties to this Agreement any legal or equitable right,
remedy or claim under or with respect to this Agreement, or any provision hereof, it being the
intention of the parties hereto that this Agreement and all of its provisions and conditions are for
the sole and exclusive benefit of the parties to this Agreement, their successors and assigns, and
for the benefit of no other person.

                g.      Section Headings, Construction. The headings of Sections contained in
this Agreement are provided for convenience only. They form no part of this Agreement and
shall not affect its construction or interpretation. All references to Sections in this Agreement
refer to the corresponding Sections of this Agreement. All words used herein shall be construed
to be of such gender or number as the circumstances require. Unless otherwise specifically
noted, the words "herein," "hereof," "hereby," "hereinabove," "hereinbelow," "hereunder," and
words of similar import, refer to this Agreement as a whole and not to any particular Section,
subsection, clause or other subdivision hereof.

                h.     Counterparts. This Agreement may be executed in one or more
counterparts(by PDF,facsimile or other electronic transmission), each of which shall be deemed
to be an original copy of this Agreement, and all of which, when taken together, shall be deemed
to constitute one and the same agreement.

               i.     Prevailing Party Fees. In any action or proceeding to enforce this
Agreement or any provisions hereof, the substantially prevailing party shall be entitled, in
addition to its other remedies, to recover its reasonable attomey's and expert's fees, travel
expenses, and court costs related to such action or proceeding.

                                  [Signature Page to Follow]
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      IN WITNESS WHEREOF, each of the parties hereto has caused this Asset Purchase
Agreement to be duly executed on the date first written above.

                                      SELLERS


                                      Diamante Dental




                                      Name: Yefim i
                                      Title:   Preside



                                      Paradise Dental I




                                      Name: Yefim A:
                                      Title:   Presideni



                                      SELLERS'SHAREHOL




                                      Yefim Ar^ba)


                                     BUYER:


                                     Dental Wizard Holding, Inc.



                                     Name: Gevork Kavtarian
                                     Title:    Co-President




                                        10
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                                       SCHEDULES


Schedule UaKO - List of Certain Sale Assets


      See Attached


Schedule 2(c)- Purchase Price Allocation

      Description                             Amount

      Inventory                             $30,000.00

      Furniture, Fixtures, Equipment       $190,000.00
         and Other Assets


                                           $220,000.00


                             [Remainder ofPage Left Blank]




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              Schedule l(a)(i)
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Diamante Dental
100 E Allegheny Ave
Phila Pa 19134


             DENTAL - FURNITURE. FIXERS. EQUIPMENTS.INSTRUMENTS AND SUPPLIES


OPERATIVE INSTRUMENTS(6+ KITS PER DENTIST)

Quantity              Item/DescrlDtion

25                    Mouth Mirrors #5

25                    Mirror Handles


25                    23 Explorer/PSR

8                     Scissors, Iris 41/2" Straight, Economy

25                    Cotton Pliers(s), College #317

6                     Spoon Excavator #38-39

2                     Amalgam Carrier Double Ended 1

2                     Amalgam Plugger 1/2 Black

4                     Cleoid-Discoid 3/6

5                     Cleoid-Discoid 89/92

1                     Hollenbach


3                     Interproximal Carver (IPC)

4                     Articulating Paper Forceps

2                     Rubber Dam Frame


2                     Rubber Dam Clamp Forceps

5                     Dycal Instrument

8                     Tofflemire(s) 2 per kit, universal

1                     emergency kit

1                     oxygen tank and mask
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HANDPIECES


Quantity                 Item/Description

4                        High-Speed Handpiece

4                        Low-Speed Handpiece

4                        Bail-Bearing Contra Angle Assembly (Latch)

4                       Prophy Contra Angle Head Assembly

4                       Contra Angle Sheath

4                       Straight Attachment

2                       Spray and Clean Handpiece Lubricant

*lf you do surgical extractions, then will need to get a surgical handpiece.

OTHER INSTRUMENTS


Quantity                Item/Description

6                        Dental Mirrors #5 for Exam Kits


6                        Mirror Handles for Exam Kits


6                       Explorer/PSR Periodontal Probes for Exam Kits

2                       Cement Spatulas #24

6                       Aspirating Syringe CW Type

1                       Composite Instruments, Set of 3

2                       Rubber Dam Punch


2                       Rubber Dam Clamps, Starter Kit

OPERATIVE SUPPLIES


Quantity                Item/Description

70                      Lidocaine 2% 1:100,000 epi/can

8                       3% Mepiyicaine/can

1                       5% Marcaine 1:200,000 epi/can
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40              27 gauge Long Needles/box

50              30 gauge Short Needles/box

4               Topical Anesthetic

12              Sharps Container

4               Accu Film 1 I/box

0               Amalgam -Regular Set/can

1               Glass lonomer Kit


0               IRM Caps 50/Pkg.

2               Clear Matrix Strips/box

1               Sof-Lex Pop-On Kit #1980

1               Finishing Strips Coarse/Medium 150/Box

1               Lightening Strips Medium 12/tube

1               Polishing Paste/can

20              Toillemire Matrix Bands #1,.0015 12/PI<g.

20              Tofilemire Matrix Bands #2.0015 12/Pkg.

1               Dycal Ivory Shade/tube

1               Copalite l/2oz/bottle

1               Vitrebond 3M/box

35              Composite assorted box of 10

6               Bonding agent

30              Flowable composite

15              sealant


25              Rotary Files

50              boxes of assorted K files
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ASSORTED BURS, DOCTORS PREFERENCE

Quantitv           Item/DescrlDtion

20                 Bur Block


4                  Etch Gel Syringe, with 20 Tips

1                 IMS Complete Kit, Minim.021"

1                  Rubber Dam Green, Heavy,6 x 6/box

1                  Wizard Anatomical Assorted Wedges 400/Box

1                  MQ Lubricant/tube

1                  Glass Slab:l! 100-4129


950                Assorted Dental burs


DISPOSABLES


Quantitv           Item/Descriotion

2                  Tray Covers -Mauve lOOO/Box

60                2x2 gauze 8 ply 200/Pkg

3                 4x4 gauze 8 ply 200/Pkg

3                  Dry-Gard Patient Bibs (rose) 500/Case

12                 Napkin Holder

4                  Cotton Tip Applicators 6" non-sterile lOOO/Box

3                  Cotton Pellets #2 2000/Box

4                 Cotton Pellets #4 3000/Box

3                 Cotton Rolls 2000/Box

4                 Cotton Roll Dispenser

3                 Plastic Cups, 1000/Case

5                 Cup Holder

3                 Safe-Tips EZ 150/Pouch
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    2              High Speed Evacuation Tips SO/Bag

 8                 Saliva Ejectors White Opaque 100/Bag

                   Dappen Dishes lOOO/Box

                   Oral Evacuation Cleaner


                   Disposable Spatulas lOO/Box

                   Benda Brush 144/Box

                   Disposable Mirrors 72/Box

                   Disposable Traps Dental Unit 144/Box, pick size needed

                   Disposable Traps Central Suction 8/Box, pick size needed

2                  Paper Towels

INFECTION CONTROL SUPPLIES


Quantitv           Item/Description

40                 Latex Exam Gloves, pick size

1                  Sterile Surgeons Gloves, pick size

1                  Utility Gloves, Large

15                 Face Masks,50 per box

5                  Safety Glasses

5                  Disposable Cover Gowns, pick size

6                  Antiseptic Hand Soap,

1                  Cleaning Solution

1                  Banicide Plus, 3.4% Glutraladehyde, 1 Gallon

7                  Disinfectant


15                 Self Seal Sterilization Pouches 31/2" x 9",

15                 Self Seal Sterilization Pouches 31/2" x 51/4",

15                 Self Seal Sterilization Pouches 51/4" x 10"
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12                   Self Seal Sterilization Pouches 71/2 x 13",

1                    Chair Covers 48" x 56"


4bx                  Air/Water Syringe Covers

1                     Light Handle Covers

9                     ALLRAP 1200 Sheets/Roll

4                     Mouth wash, may want to order pump

7                    Periogard 16 oz

1                    Cure Sleeve, Steri Shield SCO/Box

1                    Tube Sleeve 2"


1                    X-ray sleeve 14" W x 13" D x 241/2" L

1                    Biological Monitoring System

1                    Biological Indicators (25/box)

STANDARD ORAL SURGERY KIT (2-3 Kits per Dentist)

Quantitv             Item/Descriotion

8                    Surgical Handles,#3

6                    #9 Molt Periosteal Elevator


8                    Needle Holder, Crile-Wood 6 inch

8                    301 Elevator


12                   34 Elevator


9                    Minnesota Retractor


                     Curette


3                    Kelly Hemostats, Curved 51/2"

2                    Mouth Mirror 1 Mouth Handle


6                    Scissors Kelly 61/4", Curved

4                    Mouth Prop (adult) 2/Box
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0                 Suction Tips

ORAL SURGERY INSTRUMENTS


Quantity          Item/DescriDtion

5                 150 Forceps

6                 151 Forceps

2                 17 Forceps

2                 23 Forceps

2                 88R Forceps

2                 881 Forceps

2                 #1 Forceps

3                 Cryer 30

3                 Cryer 31

4                 Crane Pick


9                 Periosteal Elevator #9 Molt


2                 Heidbrink #1 Root Tip Pick

2                 Heidbrink #2 Root Tip Pick

2                 Heidbrink #3 Root Tip Pick

2                 Tissue Forceps

4                 Rongeurs

2                 Bone File, 12 Howard

6                 Straight Hemostat, Crile 51/2"

2                 Needle Holder, Crile-Wood

2                 Surgical Handle

3                 Dental Mirror for Post-Op Kit

3                 Mirror Handles for Post-Op Kit
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3                      Iris Scissors for Post-Op Kit

3                      Cotton forceps for Post-Op Kit

ORAL SURGERY SUPPLIES


Quantity               Item/Description

1                      3-0 Silk Sutures, 18" Cutting, Needle C-6 12/Box

1                      3-0 Chromic Gut Sutures, 27", C-6 12IBox

3                      Biopsy Bottles

1                      Dry Socket Paste, 1 oz.

1                      lodoforn Gauze lf4" x 5 yd.

1                      Gelfoam


3                     #15 Blades100/Box

Assorted               Surgical Burs

STANDARD ENDODONTIC KIT(2 Kits per Dentist)

WE have wave one system from dentsuply & Heter unit & all necessary supply files.

Quantity               Item/Description

                       Mouth Mirror


                       Mouth Mirror Handle


                      23 Explorer/Perio Probe

                      Scissors


                      Cotton Pliers Self-Locking Grooved

                       Ring Rulers, Right-Handed

                      Endo Excavator #31


                      16 Endodontic Explorer

                      Plugger 2

                      Plugger 3
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                          Glick #1


                          Woodson #3


                          Cleoid-Discoid 3/6 DE

                          Interproximal Carver

                          Cement Spatula

                          Articulating Paper Forceps

                          Rubber Dam Frame


                          Rubber Dam Forceps

                          Toffiemire


2                         Endodontic Organizers

ENDODONTIC SUPPLIES


Quantity                  Item/Description

Files, Flex-R-Files, assorted

Broaches, assorted

                          Endo Burs, assorted

                          Silicone Endo Stops

                          Endodontic Ice


                          Can-a-Seal


                          Gutta Percha Dispenser with #15-80 assorted 240 points

                          Gates Glidden Drills, assorted

                          Finger Spreader, Red B 4/Pkg.

                          Finger Spreader, Blue C 4/Pkg.

                          Accessory Points,fine

                          Accessory Points,fine-medium

                          Accessory Points, medium
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                      Endo Micro-Torch


                      Butane Refill


                      Paper Points, fine

                      Paper Points, medium

                      Paper Points, coarse

                      RC prep. Premier

                      Cavit,4 tubes

                      Monojet Syringes 3cc, 23 Ga. XI1/4

STANDARD PROPHY KIT (2-3 Kits per Dentist)

Quantity              Item/Description

1                     Mouth Mirror


1                     23 Explorer/PSR Probe

1                    S204S Sickle


1                     Sickle 23


1                     1/2 Curette

1                     11/12 Curette

1                     13/14 Curette

1                    Sharpening Stone

35                   Cavitron Tip, 25K FSI-IO

PREVENTIVE DENTISTRY SUPPLIES


Quantity             Item Description

1                     Reyeal Disclosing Solution

1                    Double Fluoride Trays, Large 100/Box

1                    Thixo-Gel, 1.23% APF

2                    Prophy Cups, Screw Type, 36/Pkg.
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1                    Uni-Pro Prophy Paste, Coarse 200/Box

1                    Floss Waxed, 200yd

1                    Floss Unwaxed. 200 yd

1                    Floss Dispenser

RADIOLOGY SUPPLIES


Quantity             Item/Description

4                    XCP Kit


3                    Snapper Ray, Set of 3

3                    X-Ray Apron, Mauve

4                    Apron Hanger

0                    Viewbox,

6                    EX-58 Flexi-Soft Vinyl Pack #2,

3                    FM X-Ray mounts,6V 8H 4BW#2

2                    BW mounts,4H #2 100/Box

5                    X-Ray Envelopes, 21/2" x 41/4", Plain 500/Box

PROSTHODONTIC AND LABORATORY SUPPLIES


Quantity             Item/Description

                     Alcohol Torch


                     Alcohol, Pt.

                     Reline Material


                     Den-Shur-Cup, Blue

                     Retraction Cord


                     Plaster Knife, Miltex

                     Wax Spatula #7

                     Bioform Shade Guide
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12                Plastic, Impression Trays, Large Upper

12                Plastic, Impression Trays, Large Lower

4                 Plastic, Impression Trays, Medium Upper

8                 Plastic, Impression Trays, Medium Lower

4                 Alginate, Fast Set,

2                 Alginate Adhesive, I oz. Bottle

1                 Pressure Indicator Paste,4 oz.,

2                 Spatulas, IIR

1                 Lab Stone, Golden

4                 Mixing Bowls, Hygienic, Large

8                 Blu-Bite Bite Registration

I                 Plastic Wax Strips, 6",48/Box

1                 Bite Wafers with Foil


80                Impression Material, your choice

1                 Pumice, Medium, 1 lb.

1                 Buffs Muslin


1                Coe Comfort Tissue Conditioner


10               Patient procedure models and typodonts

SUGGESTED EQUIPMENT

Quantity         Item/Description

1                 Ultrasonic Cleaner


4                Wall Mounted X-Ray

1                Vacuum System

1                Oilless Air Compressor

1                Film Processor w/ Daylight Loader
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0                    Amalgamator.

3                    Curing Light

4                    Ultrasonic Sealer


2                    Autoclave


1                    Eyewash Station

1                    Hazardous Material Guide Poster"


8                    Doctors and assistants stool


4                    Dental chairs


4                    Delivery units

4                    assistant side unit


50                   Phosphor plates

1                    Panoramic Unit


Computers,Software and Electronics

Quantitv             Item/Description

8                    Office Computers

1                    Open Dental software

1                    server


1                    Router


1                    Modem


6                    Professor Suni License


1                    Camera System

5                    Tv and wall mount


1                    Panoramic X Ray software

1                    Microwave


1                    Refrigerator
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1                   scanner



1                   printer

9                   Monitors


Waiting Room

Ten chairs


Coffee machine


Twelve pictures

Computer Desks x2
      Case 2:18-cv-03002-HB Document 1-1 Filed 07/18/18 Page 24 of 52




Paradise Dental
2338 N Front St
Phila Pa 19133



             DENTAL - FURNITURE. FIXERS. EQUIPMENTS.INSTRUMENTS AND SUPPLIES


OPERATIVE INSTRUMENTS(6+ KITS PER DENTIST)

Quantity             Item/DescrlDtion

20                   Mouth Mirrors #5


20                   Mirror Handles


20                   23 Explorer/PSR

6                    Scissors, Iris 41/2" Straight, Economy

20                   Cotton Pliers(s), College #317

6                    Spoon Excavator #38-39

2                    Amalgam Carrier Double Ended 1

2                    Amalgam Plugger 1/2 Black

4                    Cleoid-Discoid 3/6

5                    Cleoid-Discoid 89/92

1                    Hollenbach


3                   Interproximal Carver (IPC)

4                   Articulatiilg Paper Forceps

2                    Rubber Dam Frame


2                    Rubber Dam Clamp Forceps

5                   Dycal Instrument

8                   Tofflemire(s) 2 per kit, universal

1                   emergency kit

1                   oxygen tank and mask
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HANDPIECES


Quantity                 Item/Description

3                        High-Speed Handpiece

3                        Low-Speed Handpiece

3                        Bail-Bearing Contra Angle Assembly (Latch)

3                        Prophy Contra Angle Head Assembly

3                       Contra Angle Sheath

3                       Straight Attachment

2                       Spray and Clean Handpiece Lubricant

*lf you do surgical extractions, then will need to get a surgical handpiece.

OTHER INSTRUMENTS


Quantity                Item/Description

6                       Dental Mirrors #5 for Exam Kits


6                        Mirror Handles for Exam Kits


6                       Explorer/PSR Periodontal Probes for Exam Kits

2                       Cement Spatulas #24

6                       Aspirating Syringe CW Type

1                       Composite Instruments, Set of 3

2                       Rubber Dam Punch


2                       Rubber Dam Clamps, Starter Kit

OPERATIVE SUPPLIES


Quantity                Item/Description

50                      Lidocaine 2% 1:100,000 epi/can

5                       3% Mepiyicaine/can

1                       5% Marcaine 1:200,000 epi/can
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30                 27 gauge Long Needles/box

50                 30 gauge Short Needles/box

4                  Topical Anesthetic

12                 Sharps Container

4                  Accu Film ll/box

0                  Amalgam -Regular Set/can

1                  Glass lonomer Kit


0                  IRM Caps 50/Pkg.

2                  Clear Matrix Strips/box

1                  Sof-Lex Pop-On Kit #1980

1                  Finishing Strips Coarse/Medium ISO/Box

1                  Lightening Strips Medium 12/tube

1                  Polishing Paste/can

20                 Toillemire Matrix Bands #1,.0015 12/Pkg.

20                 Tofilemire Matrix Bands #2.0015 12/Pkg.

1                  Dycal Ivory Shade/tube

1                  Copalite l/2oz/bottle

1                  Vitrebond 3M/box

25                 Composite assorted box of 10

6                  Bonding agent

20                 Flowable composite

10                 sealant


ASSORTED BURS, DOCTORS PREFERENCE

18                 Bur Block


3                  Etch Gel Syringe, with 20 Tips
      Case 2:18-cv-03002-HB Document 1-1 Filed 07/18/18 Page 27 of 52




1                TMS Complete Kit, Minim.021"

1                Rubber Dam Green, Heavy,6 x 6/box

1                Wizard Anatomical Assorted Wedges 400/Box

1                MQ Lubricant/tube

1                Glass Slab: 11100-4129


750              Assorted Dental burs


DISPOSABLES


Quantitv         Item/Descriotion

2                Tray Covers -Mauve lOOO/Box

50               2x2 gauze 8 ply 200/Pkg

4                4x4 gauze 8 ply 200/Pkg

3                Dry-Gard Patient Bibs (rose) 500/Case

8                Napkin Holder

3                Cotton Tip Applicators 6" non-sterile lOOO/Box

3                Cotton Pellets #2 2000/Box

4                Cotton Pellets #4 3000/Box

2                Cotton Rolls 2000/Box

4                Cotton Roll Dispenser

3                Plastic Cups, 1000/Case

4                Cup Holder

3                Safe-Tips EZ 150/Pouch

10               High Speed Evacuation Tips SO/Bag

15               Saliva Ejectors White Opaque 100/Bag

1                Dappen Dishes lOOO/Box

1                Oral Evacuation Cleaner
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                   Disposable Spatulas lOO/Box

                   Benda Brush 144/Box

                   Disposable Mirrors 72/Box

                   Disposable Traps Dental Unit 144/Box, pick size needed

                   Disposable Traps Central Suction 8/Box, pick size needed

                   Paper Towels

INFECTION CONTROL SUPPLIES


Quantity           Item/Description

40                 Latex Exam Gloves, pick size

1                  Sterile Surgeons Gloves, pick size

1                  Utility Gloves, Large

12                 Face Masks,50 per box

4                  Safety Glasses

2                  Disposable Cover Gowns, pick size

6                  Antiseptic Hand Soap,

1                  Cleaning Solution

1                  Banicide Plus, 3.4% Glutraladehyde, 1 Gallon

7                  Disinfectant


14                 Self Seal Sterilization Pouches 31/2" x 9",

12                 Self Seal Sterilization Pouches 31/2" x 51/4",

17                 Self Seal Sterilization Pouches 51/4" x 10"

8                  Self Seal Sterilization Pouches 71/2 x 13",

1                  Chair Covers 48" x 56"


4bx                Air/Water Syringe Covers

1                  Light Handle Covers
      Case 2:18-cv-03002-HB Document 1-1 Filed 07/18/18 Page 29 of 52




9                    ALLRAP 1200 Sheets/Roll

2                     Mouth wash, may want to order pump

                     Periogard 16 oz

                     Cure Sleeve, Steri Shield 500/Box

                     Tube Sleeve 2"


                     X-ray sleeve 14" W x 13" D x 241/2" L

                      Biological Monitoring System

                      Biological Indicators(25/box)

STANDARD ORAL SURGERY KIT (2-3 Kits per Dentist)

Quantitv             Item/Description

8                    Surgical Handles,#3

6                    #9 Molt Periosteal Elevator


8                    Needle Holder, Crile-Wood 6 inch

6                    301 Elevator


4                    34 Elevator


6                    Minnesota Retractor


3                    Curette


1                    Kelly Hemostats, Curved 51/2"

1                    Mouth Mirror 1 Mouth Handle


5                    Scissors Kelly 61/4", Curved

3                    Mouth Prop (adult) 2/Box

3                    Suction Tips

ORAL SURGERY INSTRUMENTS


Quantitv             Item/Description

3                    150 Forceps
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3              151 Forceps

3              17 Forceps

2              23 Forceps

2              88R Forceps

2              88L Forceps

2              #1 Forceps

3              Cryer 30

3              Cryer 31

2              Crane Pick


2              Periosteal Elevator #9 Molt


2              Heidbrink #1 Root Tip Pick

2              Heidbrink #2 Root Tip Pick

2              Heidbrink #3 Root Tip Pick

2              Tissue Forceps

2              Rongeurs

2              Bone File, 12 Howard

2              Straight Hemostat, Crile 51/2"

2              Needle Holder, Crile-Wood

2              Surgical Handle

3              Dental Mirror for Post-Op Kit

3              Mirror Handles for Post-Op Kit

3              Iris Scissors for Post-Op Kit

3              Cotton forceps for Post-Op Kit
      Case 2:18-cv-03002-HB Document 1-1 Filed 07/18/18 Page 31 of 52




ORAL SURGERY SUPPLIES


Quantity               item/DescrlDtion

1                      3-0 Silk Sutures, 18" Cutting, Needle C-6 12/Box

1                      3-0 Chromic Gut Sutures, 27", C-6 12IBox

3                      Biopsy Bottles

1                      Dry Socket Paste, 1 oz.

1                      lodoforn Gauze lf4" x 5 yd.

1                      Gelfoam


1                      #15 Blades100/Box

Assorted               Surgical Burs

STANDARD ENDODONTIC KIT(2 Kits per Dentist)

WE have wave one system from dentsuply & Heter unit & all necessary supply files.

Quantity               Item/Description

                       Mouth Mirror


                       Mouth Mirror Handle


                      23 Explorer/Perio Probe

                      Scissors


                       Cotton Pliers Self-Locking Grooved

                       Ring Rulers, Right-handed

                      Endo Excavator #31


                      16 Endodontic Explorer

                      Plugger 2

                      Plugger 3

                      Glick #1


                      Woodson #3
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                          Cleoid-Discoid 3/6 DE

                          Interproximal Carver

                          Cement Spatula

                          Articulating Paper Forceps

                          Rubber Dam Frame


                          Rubber Dam Forceps

                          Toffiemire


2                         Endodontic Organizers

ENDODONTIC SUPPLIES


Quantity                  Item/Description

Files, Flex-R-Files, assorted

Broaches, assorted

                          Endo Burs, assorted

                          Silicone Endo Stops

                          Endodontic Ice


                          Can-a-Seal


                          Gutta Percha Dispenser with #15-80 assorted 240 points

                          Gates Glidden Drills, assorted

                          Finger Spreader, Red B 4/Pkg.

                          Finger Spreader, Blue C 4/Pkg.

                          Accessory Points,fine

                          Accessory Points,fine-medium

                          Accessory Points, medium

                          Endo Micro-Torch


                          Butane Refill
      Case 2:18-cv-03002-HB Document 1-1 Filed 07/18/18 Page 33 of 52




1                     Paper Points, fine

1                     Paper Points, medium

1                     Paper Points, coarse

1                     RC prep. Premier

1                     Cavit,4 tubes

1                     Monojet Syringes 3cc, 23 Ga. XI1/4

STANDARD PROPHY KIT (2-3 Kits per Dentist)

Quantity              Item/Description

1                     Mouth Mirror


1                     23 Explorer/PSR Probe

1                    S204S Sickle


1                     Sickle 23


1                    1/2 Curette

1                    11/12 Curette

1                    13/14 Curette

1                    Sharpening Stone

25                   Cavitron Tip, 25K FSI-IO

PREVENTIVE DENTISTRY SUPPLIES


Quantity             Item Description

1                    Reyeal Disclosing Solution

1                    Double Fluoride Trays, Large 100/Box

1                    Thixo-Gel, 1.23% APF

2                    Prophy Cups, Screw Type, 36/Pkg.

1                    Uni-Pro Prophy Paste, Coarse 200/Box

1                    Floss Waxed,200yd
        Case 2:18-cv-03002-HB Document 1-1 Filed 07/18/18 Page 34 of 52




1                    Floss Unwaxed. 200 yd

1                    Floss Dispenser

RADIOLOGY SUPPLIES


Quantity             Item/Description

4                    XCP Kit


3                    Snapper Ray, Set of 3

3                    X-Ray Apron, Mauve

3                    Apron Hanger

0                    Viewbox,

6                    EX-58 Flexi-Soft Vinyl Pack #2,

3                    FM X-Ray mounts,6V8H4BW#2

2                    BW mounts,4H #2 100/Box

                     X-Ray Envelopes, 21/2" x 41/4", Plain 500/Box

    ROSTHODONTIC AND LABORATORY SUPPLIES


Quantity             Item/Description

                     Alcohol Torch


                     Alcohol, Pt.

                     Reline Material


                     Den-Shur-Cup, Blue

                     Retraction Cord


                     Plaster Knife, Miltex

                     Wax Spatula #7

                     Bioform Shade Guide


8                    Plastic, Impression Trays, Large Upper

7                    Plastic, Impression Trays, Large Lower
      Case 2:18-cv-03002-HB Document 1-1 Filed 07/18/18 Page 35 of 52




7                 Plastic, Impression Trays, Medium Upper

8                 Plastic, Impression Trays, Medium Lower

4                 Alginate, Fast Set,

2                 Alginate Adhesive, I oz. Bottle

1                 Pressure Indicator Paste,4 oz.,

2                 Spatulas, IIR

1                 Lab Stone, Golden

4                 Mixing Bowls, Hygienic, Large

8                 Blu-Bite Bite Registration

I                 Plastic Wax Strips, 6",48/Box

1                 Bite Wafers with Foil


100               Impression Material, your choice

1                 Pumice, Medium, 1 lb.

1                 Buffs Muslin


1                Coe Comfort Tissue Conditioner


10               Patient procedure models and typodonts

SUGGESTED EQUIPMENT

Quantity         Item/Description

1                 Ultrasonic Cleaner


3                Wall Mounted X-Ray

1                Vacuum System

1                Oilless Air Compressor

1                Film Processor w/ Daylight Loader

0                Amalgamator.

3                Curing Light
      Case 2:18-cv-03002-HB Document 1-1 Filed 07/18/18 Page 36 of 52




3                     Ultrasonic Sealer


1                     Autoclave


1                     Eyewash Station

1                     Hazardous Material Guide Poster"


6                     Doctors and assistants stool


3                     Dental chairs


3                     Delivery units

3                     assistant side unit


1                     X ray sensor

1                     Panoramic Unit


Computers, Software and Electronics

Quantitv              Item/Description

7                     Office Computers

1                     Open Dental software

1                     server


1                     Router


1                     Modem


6                     Professor Suni License


1                     Camera System

4                     Tv and wall mount


1                     Panoramic X Ray software

1                     Microwave


1                     Refrigerator

1                    scanner


2                     printer
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3                        Monitors


Waiting Room

Six chairs


Coffee machine


Water Cooler


Kids play table = two kids chair + toys

Three pictures

Couch


Computer Desks x2
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                         EXHIBIT C
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                         EXHIBIT D
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                         EXHIBIT !
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                         EXHIBIT F
         Case 2:18-cv-03002-HB Document 1-1 Filed 07/18/18 Page 52 of 52
                                                                                Five Neshaminy interplex


Tinovsky Law Firm                                  PC                           Suite 205

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February 15,2018

Via Hand Deliverv. Email and/or Regular / Certified Mail IRRR)




Yefim Aranbayev,DDS               Diamante Dental Inc.               Paradise Dental Inc.
5530 New Falls Road               do Yefim Aranbayev,DDS             do Yefim Aranbayev,DDS
Levittown,PA 19056                5530 New Falls Road                5530 New Falls Road
                                  Levittown,PA 19056                 Levittown,PA 19056

Artur Martirosyan and         Dental Empire,Inc.
Anna Chistyakova              13066 Townsend Road, Unit K
52 Bowman Drive               Philadelphia,PA 19154
Feasterville-Trevose,PA 19053 Attn: Anna Chistyakova, President
                              and Artur Martirosyan, Vice President

RE:    Notice of:(a)Breach of Asset Purchase Agreements dated January 11,2018(collectively,
       "Purchase Agreements") between Dental Wizard,P.C. and Dental Wizard Holding,Inc.
       (as Buyers), on the one hand, and Paradise Dental Inc., Diamante Dental Inc., Dental
       Empire Inc., Yefim Aranbayev and Artur Martirosyan (as Seller Parties), on the other;
       (b) Buyers' Claims Against Seller Parties and Co-Conspirators; (c) Demand for
       Indemnification and Other Remedies: and(d)Demand for Preservation of Evidence

Ladies and Gentlemen:


I represent Dental Wizard, P.C. and Dental Wizard Holding, Inc. ("Buyers"). On January 11, 2018,
the parties entered into the Purchase Agreements based upon, among other things, various statements,
promises, representations and warranties of the Seller Parties which have tumed out to be knowingly
false and/or misleading. Moreover, after the closing, the Buyers uncovered significant fi:a.ud and
illegal activities by the Seller Parties which were not disclosed in violation of the Purchase
Agreements and applicable law.

Accordingly, the Buyers hereby give notice of breach and claims, and demand indemnification and
preservation of Documents and Data (as defined below), under the Purchase Agreements and
applicable law. Capitalized terms used but not defmed in this letter shall have the meaning ascribed to
such terms in the Purchase Agreements,as applicable.
